Case 2:11-cr-00002   Document 1721   Filed 06/11/14   Page 1 of 6 PageID #: 4484
Case 2:11-cr-00002   Document 1721   Filed 06/11/14   Page 2 of 6 PageID #: 4485
Case 2:11-cr-00002   Document 1721   Filed 06/11/14   Page 3 of 6 PageID #: 4486
Case 2:11-cr-00002   Document 1721   Filed 06/11/14   Page 4 of 6 PageID #: 4487
Case 2:11-cr-00002   Document 1721   Filed 06/11/14   Page 5 of 6 PageID #: 4488
Case 2:11-cr-00002   Document 1721   Filed 06/11/14   Page 6 of 6 PageID #: 4489
